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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


DONNA CURLING, ET AL.,

     Plaintiffs,
                                       Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,

     Defendants.


STATE DEFENDANTS’ REPLY IN SUPPORT OF THEIR DISCOVERY
                 DISPUTE STATEMENT
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      State Defendants offer this Reply in support of their position in the discovery

dispute with Coalition Plaintiffs, [Docs. 1245, 1257].1

      Request No. 2 – State Defendants are perplexed by CGG’s response.

Defendants presume CGG maintains records of its financial activities and framed

this request to avoid unduly burdening CGG and its donors, but CGG is now

employing a narrow reading of that request to avoid producing any documents. State

Defendants will proceed with the 30(b)(6) of CGG, but an amended response to the

request is required. CGG has never before explained that responsive documents do

not exist, whether “as a practical matter,” [Doc. 1257 at 1], or otherwise.

      Request No. 3 – CGG argues that the State Defendants have not demonstrated

relevance of this request. [Doc. 1257 at 3 (citing FRE 401)]. But CGG confuses the

standard for relevance of requested discovery and that for purposes of the Federal

Rules of Evidence. In the context of discovery, relevance has been construed

“broadly to encompass any matter that bears on, or that reasonably could lead to

other matter that could bear on, any issue that is or may be in the case.” Akridge v.

Alfa Mut. Ins. Co., 1 F.4th 1271, 1276 (11th Cir. 2021) (emphasis added). And no

showing of admissibility is required to obtain discovery. Id. Indeed, accepting



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 CGG’s response regarding Requests 8 and 9, and Interrogatory 12, resolves those
disputes. The State will await production and a revised interrogatory response.
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CGG’s narrow reading would mean relevance of a request could never be

demonstrated without knowledge of the responsive document(s) being withheld.

      In any event, the request here is reasonably calculated to lead to admissible

evidence: seeking only communications and documents related to the Election

System or the Litigation, with individuals pursuing identical claims. Defendants

provided this Court known examples of interaction with these individuals, [Doc.

1245 at 3–4], and responsive documents and communications may undercut

testimony of Plaintiffs themselves, their experts, or other third parties (like Mr.

Favorito) testifying in support of Plaintiffs, see, e.g., [Doc. 413 at 289], whether for

impeachment or substance. Plaintiffs have repeatedly argued “how different they are

from Lin Wood, how different they are from the Kraken case.” “[W]hat they say

about their claims, what they say about this case, what they say about the Wood

litigation is absolutely relevant to their claims and [the] defenses at issue here.” [Doc.

1160 at 73:18–20, 76:5–7].

      Request No. 4 – Defendants appreciate that Coalition Plaintiffs are now

willing to “produce non-privileged document(s),” [Doc. 1257 at 3], but as

Defendants pointed out, CGG has never produced a privilege log. [Doc. 1245 at 4].

      Request No. 5 – CGG again relies upon the wrong standard of relevance for

purposes of discovery. Here, responsive documents and communications bear on a

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matter in this case—Dr. Halderman’s report—and there is no basis to withhold

responsive non-privileged documents. See, supra, reply to Request 3.

      Request No. 6 & Interrogatory No. 11 – CGG has repeatedly filed hundreds

of pages of declarations and “evidence” that they ostensibly later relied upon. See,

e.g., [Docs. 412, 413, 506, 723, 755, 809, 1071]. Defendants are seeking CGG’s

communications with any of those individuals, to the extent they continue to rely

upon them in this case. Interrogatory Number 11 is likewise targeted to the same

purpose, to identify any such individuals upon whom CGG relies. Oddly, CGG is

apparently no longer “willing to meet and confer” on this issue, [Doc. 1245-1 at 5]

see also Nov. 19, 2021 Hrg. Tr. at 66:06–69:10, but if CGG is not continuing to rely

upon third-party declarants or fact witnesses then the issue will be resolved.




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    Respectfully submitted this 19th day of January, 2022.

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                     CERTIFICATE OF COMPLIANCE
      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                            /s/ Carey A. Miller
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